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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA
                                          ***


UNITED STATES OF AMERICA,

                Plaintiff,                              02:07-CR-00080-CRW

v.
                                                                ORDER
MICHAEL JENKINS,

                Defendant.

               The court extends until 2:00 p.m. on Friday, February 10, 2012, the time when

defendant Michael Jenkins is required to self-report to serve his prison sentence at an institution

designated by the U.S. Bureau of Prisons.

               Although the U.S. Court of Appeals entered its Judgment affirming defendant’s

Conviction and Sentence on December 20, 2011, the Mandate was filed on January 11, 2012, so

the court will extend the time for self-reporting until February 10, 2012. No further extension of

time will be granted. Defendant was indicted in 2007, and he must begin serving his sentence on

February 10, 2012 at 2:00 p.m. The U.S. Marshal shall promptly determine and inform

defendant where to report.

               Defendant shall complete, sign, and return to the U.S. Attorney all Restitution

documents.

               SO ORDERED.

               Dated this 17th day of January, 2012.
